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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA               : Crim. No. 1:19-CR-0064
                                       :
                  v.                   :
                                       :
TERRANCE HARDEN                        : Judge Sylvia H. Rambo


                                 ORDER

      In accordance with the accompanying memorandum, IT IS HEREBY

ORDERED that the magistrate judge’s report and recommendation (Doc. 51) is

adopted in part and Mr. Harden’s motion to suppress (Doc. 26) is DENIED.




                                    /s/ Sylvia H. Rambo
                                    Sylvia H. Rambo
                                    United States District Judge
Dated: October 16, 2020.
